                              NO. 07-10-00230-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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AUGUST 10, 2010
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                       DAVID EUGENE HAMILTON, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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               FROM THE 46TH DISTRICT COURT OF WILBARGER COUNTY;
                                       
                  NO. 11,394; HONORABLE DAN MIKE BIRD, JUDGE
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Appellant, David Eugene Hamilton, filed a notice of appeal challenging his conviction and sentence.  On June 28, 2010, we abated and remanded the case to allow the filing of a new certification of appellant's right to appeal.  Tex. R. App. P. 25.2(d).  On August 2, appellant filed, rather than a new certification, a motion to dismiss the appeal.  The motion is signed by appellant and his counsel.  Tex. R. App. P. 42.2(a).  We have delivered no decision on the merits of appellant's case.  We reinstate the case, dissolve the abatement, and grant appellant's motion to dismiss.  Accordingly, the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.


James T. Campbell
          Justice


Do not publish.

	

